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                           UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LISA INZINGA,                                     )    Case No. 2:18-cv-00420-NBF
                                                  )
                    Plaintiff,                    )    Judge Nora Barry Fischer
                                                  )
            v.                                    )
                                                  )    Electronically Filed
CITIMORTGAGE, INC.,                               )
                                                  )
                    Defendant.                    )
                                                  )

                          STIPULATION SELECTING ADR PROCESS
       Counsel report that they have met and conferred regarding Alternative Dispute
Resolution (ADR) and have reached the following stipulation pursuant to L.R. 16.2 and the
Court’s ADR Policies and Procedures.

I. PROCESS
Select one of the following processes:
         X       Mediation
       _____     Early Neutral Evaluation (ENE)
       _____     Court sponsored Binding1 Arbitration
       _____     Court sponsored Non-binding Arbitration
       _____     Other (please identify process and provider)

If you are utilizing a private ADR process, such as the American Arbitration Association,
be advised that the case is still governed by the Court’s ADR Policies and Procedures. It is
the responsibility of counsel to ensure that all of the proper forms are timely submitted and
filed, as required by Policies and Procedures.

II. COSTS

The parties have agreed to share the ADR costs as follows (do not complete percentages for
Court sponsored arbitration. For that process, costs are paid by the Court in accordance with 28
USC §658.):

          50     % by Plaintiff(s)
          50     % by Defendant(s)
          0      % by Third Party Defendant(s)

If a dispute arises as to compensation and costs for the mediator/neutral evaluator/private
arbitrator, the Court will set reasonable compensation and costs.
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III. NEUTRAL

The parties hereby designate by agreement the following individual to serve as a Neutral in the
above-styled action:
       Name of Neutral: Carole Katz
       Address of Neutral: 6448 Melissa Street, Pittsburgh, PA 15206
       Telephone & FAX Numbers: (T) 412.916.4874 (F) 412.774.2641
       Email address of Neutral: Carole@carolekatz.com
       Date of ADR Session: Pending confirmation by the parties
The parties represent that they have contacted the selected prospective neutral and have
determined that the neutral is available to conduct the ADR session within the time prescribed by
the Court's Policies and Procedures and that the neutral does not have a conflict.

IV. PARTICIPANTS

Name and title of the individual(s) who will be attending the mediation or early neutral
evaluation session, in addition to counsel, in accordance with Section 2.7 (Attendance at
Session) of the Court’s ADR Policies and Procedures:

       For Plaintiff:         Lisa Inzinga, Plaintiff

       For Defendant:         Jason Whitcomb, Assistant General Counsel of Citibank N.A.

If there is insufficient space to list all parties who will be attending the session, please add
additional sheets as necessary.

Each party certifies that the representative(s) attending the ADR session on its behalf has full and
complete settlement authority, as specified in sub-section (A)(1-3) of the above section of the
Court’s ADR Policies and Procedures.

V. ACKNOWLEDGMENT
      We, the undersigned parties to this action, declare that this stipulation is both consensual
and mutual.
/s/ Jeffrey Suher                                  /s/ Erin Fleury
Attorney for Plaintiff                             Attorney for Defendant

May 10, 2018                                       May 10, 2018
Dated                                              Dated




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